                         UNITED STATES DISTRICT COURT
                                       for the
                                District of Colorado



 COLORADO MONTANA WYOMING                      )
 STATE AREA CONFERENCE OF THE                  )
 NAACP, LEAGUE OF WOMEN VOTERS                 )
 OF COLORADO, and MI FAMILIA VOTA              )   Civil Action No. 1:22-cv-00581-PAB
                                               )
 Plaintiffs,                                   )
                                               )
         -v-                                   )
                                               )   BENCH TRIAL
                                               )
 UNITED STATES ELECTION INTEGRITY              )
 PLAN, SHAWN SMITH, ASHLEY EPP,                )
 and HOLLY KASUN                               )
                                               )
 Defendants.                                   )



               ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS



       COMES NOW, Defendants, USEIP, Shawn Smith, Ashley Epp, and Holly Kasun

(collectively “Defendants”), by and through undersigned counsel, and hereby submit their

Answer and Affirmative Defenses to the Complaint as follows:

                                   INTRODUCTION

   1. Defendants deny the allegations contained in paragraph 1 of the Complaint.

   2. Defendants deny the allegations contained in paragraph 2 of the Complaint.

   3. Defendants deny the allegations contained in paragraph 3 of the Complaint.


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   4. Defendants deny the allegations contained in paragraph 4 of the Complaint.

   5. Defendants deny the allegations contained in paragraph 5 of the Complaint.

   6. Defendants are without sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 6 of the Complaint and therefore deny

the same.

   7. Defendants deny the allegations contained in paragraph 7 of the Complaint.

   8. Defendants deny the allegations contained in paragraph 8 of the Compliant.

   9. Defendants deny the allegations contained in paragraph 9 of the Complaint.

                               JURISDICTION AND VENUE

   10. Defendants admit that this Court has subject matter jurisdiction.

   11. Defendants admit that this Court has authority to issue declaratory and injunctive

relief, but deny any other factual allegations contained in paragraph 11 of the Complaint.

   12. Defendants admit that venue is proper in this district, but deny all other factual

allegations contained in paragraph 12 of the Compliant.

                                           PARTIES

   13. Defendants are without sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 13 of the Complaint and therefore deny

the same.

   14. Defendants are without sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 14 of the Complaint and therefore deny

the same.




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   15. Defendants are without sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 15 of the Complaint and therefore deny

the same.

   16. In response to paragraph 16 of the Compliant, Defendants admit that USEIP is an

unincorporated organization. Defendants do not have sufficient knowledge or information

to determine the veracity of the claim that USEIP is exporting its campaign to other states

and therefore denies the same. Defendants deny all other factual allegations contained

in paragraph 16 of the Compliant.

   17. Defendants admit that Shawn Smith is a Colorado resident and a member of

USEIP. Defendants deny all other factual allegations contained in paragraph 17 of the

Complaint.

   18. Defendants admit that Ashley Epp is a Colorado resident and a member of USEIP.

Defendants deny all other factual allegations contained in paragraph 18 of the Complaint.

   19. Defendants admit that Holly Kasun is a Colorado resident and a member of USEIP.

Defendants deny all other factual allegations contained in paragraph 19 of the Complaint.

                                             FACTS
USEIP Background

   20. Defendants deny the allegations contained in paragraph 20 of the Complaint.

   21. Defendants admit that USEIP has no connection to the United States Government.

Defendants deny the remaining allegations contained in paragraph 21 of the Complaint.

   22. Defendants are without sufficient knowledge or information to determine the

veracity of claims regarding others who are not named in this lawsuit and therefore deny.



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Any allegations contained in paragraph 22 of the Compliant regarding the named

defendants are denied.

   23. Defendants deny the allegations contained in paragraph 23 of the Complaint.

   24. Defendants admit that Shawn Smith is based in Colorado Springs. Defendants

deny the remaining factual allegations contained in paragraph 24 of the Complaint.

   25. Defendants deny the allegations contained in paragraph 25 of the complaint.

   26. Defendants deny the allegations contained in paragraph 26 of the Complaint.

   27. Defendants deny the allegations contained in paragraph 27 of the Complaint

pertaining to named parties. Defendants are without sufficient knowledge or information

to determine the veracity of claims regarding third parties.

   28. Defendants deny the allegations contained in paragraph 28 of the Complaint.

   29. Defendants do not have sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 29 of the Complaint and therefore deny

the same.

   30. Defendants do not have sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 30 of the Complaint and therefore deny

the same.

   31. Defendants deny the allegations contained in paragraph 31 of the Complaint.




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    THE VOTER ORGANIZATIONS SEEK TO ADDRESS DEFENDANTS’ VOTER
                      INTIMIDATION CAMPAIGN 1

    32. Defendants are without sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 32 of the Complaint and therefore deny

the same. Defendants deny any allegation that their actions caused intimidation.

    33. Defendants are without sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 33 of the Complaint and therefore deny

the same.

    34. Defendants are without sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 34 of the Complaint and therefore deny

the same.

    35. Defendants are without sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 35 of the Complaint, and therefore deny

the same.

    36. Defendants are without sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 36 of the Complaint, and therefore deny

the same.

    37. Defendants are without sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 37 of the Complaint, and therefore deny

the same.




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 Defendants utilize the headings from the Complaint for organizational purposes only and do not
admit any allegations from their use.
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   38. Defendants are without sufficient knowledge or information to determine the

veracity of the allegations contained in paragraph 38 of the Complaint, and therefore deny

the same.

                                     CLAIM FOR RELIEF

                                      Count One:
       Intimidating Voters and Potential Voters in Violation of Section 11(b) of the
                               Voting Rights Act of 1965.

   39. In response to paragraph 39 of the Complaint, Defendants re-allege and

reincorporate all responses contained in paragraphs 1-38 of this Answer, as if fully set

forth herein.

   40. In response to paragraph 40 of the Complaint, Defendants admit that paragraph

40 quotes language from Section 11(b) of the Voting Rights Act of 1965 (“VRA”), 52

U.S.C. § 1307(b). Defendants deny all other allegations contained in paragraph 40 of the

Complaint.

   41. Defendants deny the allegations contained in paragraph 41 of the Compliant.

   42. Defendants deny the allegations contained in paragraph 42 of the Complaint.

   43. Defendants deny the allegations contained in paragraph 43 of the Complaint.

                                        Count Two:
       Attempting to Intimidate Voters and Potential Voters in Violation of Section
                          11(b) of the Voting Rights Act of 1965

   44. In response to paragraph 44 of the Complaint, Defendants admit that paragraph

44 quotes language from Section 11(b) of the Voting Rights Act of 1965, 52 U.S.C. §

1307(b). Defendants deny all other allegations contained in paragraph 44 of the

Complaint.


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   45. Defendants deny the allegations contained in paragraph 45 of the Complaint.

   46. Defendants deny the allegations contained in paragraph 46 of the Complaint.

                                        Count Three:
                    Violation of the Ku Klux Klan Act (42 U.S.C. § 1985)

   47. In response to paragraph 47 of the Complaint, Defendants re-allege and

reincorporate all responses contained in paragraphs 1-46 of this Answer, as if fully set

forth herein.

   48. Defendants deny the allegations contained in paragraph 48 of the Complaint.

   49. Defendants deny the allegations contained in paragraph 49 of the Complaint.

   50. Defendants deny the allegations contained in paragraph 50 of the Complaint.

   51. Defendants are without sufficient knowledge or information to determine the

veracity of whether Plaintiffs are entitled to bring an action for recovery of damages under

42 U.S.C. § 1985(3). Defendants deny all other allegations contained in paragraph 51 of

the Complaint.

                                     PRAYER FOR RELIEF

   a) In response to the allegations contained in paragraph a of the Complaint,

Defendants admit that paragraph a articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph a of the Complaint.

   b) In response to the allegations contained in paragraph b of the Complaint,

Defendants admit that paragraph b articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph b of the Complaint.




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   c) In response to the allegations contained in paragraph c of the Complaint,

Defendants admit that paragraph c articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph c of the Complaint.

   d) In response to the allegations contained in paragraph d of the Complaint,

Defendants admit that paragraph d articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph d of the Complaint.

   e) In response to the allegations contained in paragraph e of the Complaint,

Defendants admit that paragraph e articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph e of the Complaint.

   f) In response to the allegations contained in paragraph f of the Complaint,

Defendants admit that paragraph f articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph f of the Complaint.

   g) In response to the allegations contained in paragraph g of the Complaint,

Defendants admit that paragraph g articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph g of the Complaint.

   h) In response to the allegations contained in paragraph h of the Complaint,

Defendants admit that paragraph h articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph h of the Complaint.

   i) In response to the allegations contained in paragraph i of the Complaint,

Defendants admit that paragraph i articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph i of the Complaint.




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   j) In response to the allegations contained in paragraph j of the Complaint,

Defendants admit that paragraph j articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph j of the Complaint.

   k) In response to the allegations contained in paragraph k of the Complaint,

Defendants admit that paragraph k articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph k of the Complaint.

   l) In response to the allegations contained in paragraph l of the Complaint,

Defendants admit that paragraph l articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph l of the Complaint.

   m) In response to the allegations contained in paragraph m of the Complaint,

Defendants admit that paragraph m articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph m of the Complaint.

   n) In response to the allegations contained in paragraph n of the Complaint,

Defendants admit that paragraph n articulates the relief sought by Plaintiffs. Defendants

deny the remaining allegations contained in paragraph n of the Complaint.

                                       GENERAL DENIAL

Defendants deny each and every allegation contained in the Complaint not expressly

admitted herein.

                                   AFFIRMATIVE DEFENSES

Pursuant to Fed. R. Civ. P. 8(c), Defendants assert these Affirmative Defenses in

response to the Complaint and any other claims asserted against them in this action. The

Affirmative Defenses set forth herein are pled alternatively or hypothetically pursuant to


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Fed. R. Civ. P. 8(d)(2) based on facts now known or upon information and belief.

Defendants will dismiss, withdraw, or modify and defense pursuant to F.R.C.P. 11, if it

becomes known after discovery that it cannot prevail on said defense.

   1. Plaintiffs’ Complaint, in whole or in part, fails to state a claim upon which relief may

      be granted.

   2. Some or all of Plaintiffs’ claims are barred by the applicable statute of limitations.

   3. Plaintiffs lack standing to bring some, or all of the claims asserted.

   4. Plaintiffs’ claims are barred, in whole or in part, due to lack of any legitimate and

      justiciable controversy.

   5. Plaintiffs’ claims are barred, in whole or in part, by their failure to join indispensable

      parties.

   6. Plaintiffs have suffered no damage as a result of any of the alleged actions of

      Defendants.

   7. Plaintiffs have failed to mitigate their damages, if any.

   8. Plaintiffs’ claims are barred by the doctrine of waiver.

   9. Plaintiffs’ claims are barred by the doctrine of laches.

   10. Plaintiffs’ claims are barred by the doctrine of estoppel.

   11. Plaintiffs’ claims are barred because the damages, whether statutory or otherwise,

      are unconstitutionally excessive and disproportionate to any actual damages that

      may have been sustained,

   12. Plaintiffs’ claims are barred by the doctrine of abuse of process.

   13. Plaintiffs’ claims are barred by the doctrine of unclean hands.


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   14. Plaintiffs’ claims are barred to the extent that they violate Defendants’ First and

       Second Amendment Rights guaranteed to them under the United States

       Constitution.

   15. Plaintiffs’ claims are barred by the doctrine of consent.

   16. Plaintiffs’ claims are barred to the extent that any damages allegedly sustained by

       Plaintiffs are the proximate result of the acts and/or omissions of independent third

       parties over which Defendants exercised no control.

   17. Plaintiffs’ claims are barred because at all times Defendants acted in good faith

       and in a reasonable and lawful manner.

   18. Plaintiffs’ claims are barred by the doctrine of de minimis non curat lex, as any

       damages allegedly suffered by Plaintiffs have been de minimis.

   19. Plaintiffs’ claims are barred because the matter is moot.

   20. Plaintiffs’ claims are barred because 42 U.S.C. § 1985(3) is vague and overbroad

       and therefore unconstitutional.

   21. Plaintiffs’ claims are barred because Defendants are not “. . .person[s], whether

       acting under color of law or otherwise. . .” pursuant to 52 U.S.C. § 1307(b).

   22. Plaintiffs’ claims are barred because 52 U.S.C. § 1307(b) is vague and overbroad

       and therefore unconstitutional.

WHEREFORE, having answered, Defendants request judgment or relief against Plaintiffs

as follows:

   1. That the action against Defendants is dismissed with prejudice and that the

       Plaintiffs are granted no relief; and


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2. That Defendants be awarded their costs and disbursements incurred in defending

    this matter; and

3. Such other and further relief, including declaratory, equitable relief and damages,

    to which Defendants are entitled.



                                 COUNTERCLAIMS

    Counterclaim Plaintiffs, Shawn Smith, Ashley Epp, and Holly Kasun hereby state

as follows for their Counterclaims against Counterclaim Defendants Colorado

Montana Wyoming State Area Conference of the NAACP, League of Women Voters

of Colorado, and Mi Familia Vota.

                          Parties, Jurisdiction and Venue

1. Shawn Smith is an individual resident of the State of Colorado, who may be

   contacted c/o the Reisch Law Firm, LLC; 1490 W. 121st Avenue, Suite 202, Denver,

   Colorado 80234.

2. Ashley Epp is an individual resident of the State of Colorado, who may be contacted

   c/o the Reisch Law Firm, LLC; 1490 W. 121st Avenue, Suite 202, Denver, Colorado

   80234.

3. Holly Kasun is an individual resident of the State of Colorado, who may be

   contacted c/o the Reisch Law Firm, LLC; 1490 W. 121st Avenue, Suite 202, Denver,

   Colorado 80234.

4. NAACP Colorado is a nonprofit corporation with a principal office in Colorado

   Springs, Colorado.


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5. League of Women Voters of Colorado (“LWVCO”), is a non-profit organization with

   a principal office in Denver, Colorado.

6. Mi Familia Vota (“MFV”) is a foreign nonprofit corporation with a principal office in

   Phoenix, Arizona.

                                       JURISDICTION

7. This Court has jurisdiction over these Counterclaims under 28 U.S.C. § 1367(a)

    because this Court has supplemental jurisdiction over all other claims related to

    the claims within the Court’s original jurisdiction that form part of the same case or

    controversy under Article III of the United States Constitution.

8. Venue is appropriate in this judicial district under 28 U.S.C. § 1391(b)(1) and (2)

    because the parties reside in this judicial district, and a substantial part of the event

    or omissions giving rise to the counterclaims occurred in this judicial district.

                                 GENERAL ALLEGATIONS

9. Counterclaim Plaintiffs re-allege and reincorporate the allegations contained in

    paragraphs 1-8 of this Counterclaim as if fully set forth herein.

10. On or about March 9, 2022, Counterclaim Defendants initiated a civil lawsuit

    alleging intimidation of voters and potential voters in violation of Section 11(b) of

    the Voting Rights Act of 1965, attempted intimidation of voters and potential voters

    in violation of Section 11(b) of the Voting Rights Act of 1965, and Violation of the

    Ku Klux Klan Act (42 U.S.C. §1985).

11. On or about March 9, 2022, Counterclaim Defendants filed a Motion for

    Preliminary Injunction and Temporary Restraining Order arising out of the same


                                           13
       allegations contained in the Compliant. This Motion was voluntarily withdrawn by

       Counterclaim Defendants on May 12, 2022.

    12. The Complaint and additional filings by Counterclaim Defendants contain

       numerous unsubstantiated and frivolous allegations.

    13. Despite having no independent knowledge of the veracity of the claims being

       brought, Counterclaim Defendants continue to prosecute their unsupported claims.

    14. Counterclaim Defendants, either directly or through their agents, published the

       same frivolous statements regarding the Counterclaim Plaintiffs through press

       releases and articles on various websites2.

    15. Contained in the Complaint and other publications, Counterclaim Defendants

       make allegations that Counterclaim Plaintiffs have ties with QAnon, described as

       a domestic terror threat. 3




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  Counsel for Counterclaim Defendants, Free Speech for People, published a press release on
March 9, 2022, repeating the false allegations contained in their Complaint. Free Speech for
People, Voting Right Organizations File Federal Lawsuit to Stop Illegal Voter Intimidation in
Colorado (March 9, 2022), https://freespeechforpeople.org/voting-rights-organizations-file-
federal-lawsuit-to-stop-illegal-voter-intimidation-in-colorado/ (last visited May 12, 2022).
Similarly, League of Women Voters published a press release on March 9, 2022, alleging the
same unsupported claims contained in the Complaint. Shannon Augustus, Colorado Voting
Rights Advocates File Lawsuit Against Voter Intimidation, (March 9, 2022),
https://www.lwv.org/newsroom/press-releases/colorado-voting-rights-advocates-file-lawsuit-
against-voter-intimidation, (last visited May 12, 2022).
3
  Free Speech for People describe USEIP as “an extremist organization with ties to the January 6
Capitol insurrection.” Free Speech for People, Colorado NAACP, League of Women Voters of
Colorado, and Mi Familia Vota v. United States Election Integrity Plan: Challenging illegal
voter intimidation in Colorado. https://freespeechforpeople.org/colorado-naacp-league-of-
women-voters-of-colorado-and-mi-familia-vota-v-united-states-election-integrity-plan/ (last
visited May 12, 2022).
                                               14
16. As evidenced by Counterclaim Defendants’ own filings with the Court, the false

   allegations of ties with terrorist organizations, targeted voter intimidation, and

   engaging in violent behavior arise from a single source: The Colorado Times

   Recorder.

17. Rather than investigate the allegations prior to initiating a lawsuit, Counterclaim

   Defendants relied on false claims of a third-party journalist.

18. The Complaint seeks declaratory relief as well as monetary damages. Specifically,

   the Complaint asks the Court to declare that carrying out the door-to-door

   campaign in the future will constitute unlawful voter intimidation and conspiracy;

   Order to cease and desist going to voters’ homes to question voters; Order to

   cease and desist coordinating or organizing visits to voters homes; Order to stop

   taking photographs and maintaining databases of voters and to delete the same;

   Order that those who speak with voters must state the organization with whom

   they are affiliated, inform voters they are not required to speak, stop claiming that

   they are affiliated with any government entity, not make any threat of

   consequences, reprisals, or criminal charges to voters, and to otherwise not

   threaten or intimidate voters; Order to cease and desist carrying weapons when

   going to voters’ homes; Order to cease and desist instructing or encouraging

   carrying of weapons when interacting with voters; and Order not to engage in other

   actions that threaten voters for having voted.




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19. Through the Complaint, Counterclaim Defendants seek declaratory relief which, if

   granted, would eliminate the Counterclaim Plaintiffs’ ability to freely engage in the

   electoral process.

20. The claims, statements, and filings by Counterclaim Defendants are devoid of

   factual support and their purpose of bringing a frivolous lawsuit is to harass

   Counterclaim Plaintiffs and limit their electoral engagement.

                             First Counterclaim for Relief
                                       Defamation
21. Counterclaim Plaintiffs fully incorporate the prior paragraphs as if fully set forth

   herein.

22. Mr. Smith, Ms. Epp, and Ms. Kasun are neither public officials nor public figures.

23. Counterclaim Defendants or their agents published false information that

   Counterclaim Plaintiffs have ties with terrorist organizations, commit racially

   motivated voter intimidation, and condone violence.

24. The defamatory meaning of these statements is apparent from their face. These

   statements are defamatory per se as they inherently injure Counterclaim Plaintiffs’

   reputation, impute a crime, and disparage their business practices.

25. These defamatory statements are directed to Counterclaim Plaintiffs who are

   individually named in the publications.

26. Without verifying the truth of their allegations, Counterclaim Defendants published

   these defamatory statements with reckless disregard of their truth or falsity.

   Counterclaim Defendants failed to corroborate any of the allegations and




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   conducted a grossly inadequate investigation of the facts prior to publishing these

   statements.

27. As a direct and proximate result of these statements, Counterclaim Plaintiffs have

   suffered actual and special damages including, harm to their reputation, loss of

   employment opportunities, lost earnings, and pain and suffering.

                             Second Counterclaim for Relief
                                   (Abuse of Process)
28. Counterclaim Plaintiffs incorporate and re-allege the preceding paragraphs as if

   fully set forth herein.

29. Counterclaim Defendants initiated a civil lawsuit against Counterclaim Plaintiffs by

   filing a Complaint in the United States District Court of Colorado.

30. Counterclaim Defendants had an ulterior purpose for filing this litigation which was

   to harass, embarrass, and limit Counterclaim Plaintiffs’ access to the electoral

   process.

31. Counterclaim Defendants willfully used the filing of the Complaint for the improper

   purpose of harassing, embarrassing, and keeping Counterclaim Plaintiffs from

   engaging in their constitutional rights.

32. As a result of this abuse of process, Counterclaim Plaintiffs have suffered

   economic damages, including attorney’s fees and costs in defending the action,

   non-economic damages including injury to their reputation, pain and suffering,

   humiliation and embarrassment.




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   WHEREFORE, Shawn Smith, Ashely Epp, and Holly Kasun, respectfully request that

the Court enter judgment against Counterclaim Defendants for the relief requested above

and damages, together with interest, court costs, and attorney fees, the full amount of

which will be determined at trial, and for such other relief as the Court may deem

appropriate.

      Respectfully submitted this 12th day of May, 2022.

                                               s/ Jessica L. Hays
                                               R. Scott Reisch, #26892
                                               Jessica L. Hays, #53905
                                               THE REISCH LAW FIRM, LLC
                                               1490 W. 121st Avenue, #202
                                               Denver, CO 80234
                                               (303) 291-0555
                                               Email: scott@reischlawfirm.com
                                               jessica@reischlawfirm.com
                                               cassandra@reischlawfirm.com
                                               Attorneys for Defendants

                             CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing ANSWER, AFFIRMATIVE DEFENSES
AND COUNTERCLAIMS has been electronically served through ECF this 12th day of
May, 2022, to all counsel of record.


                                               s/ Jessica L. Hays
                                               R. Scott Reisch, #26892
                                               Jessica L. Hays, #53905
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                                               Attorneys for Defendants




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